Case 4:24-cv-01004-O      Document 51         Filed 06/04/25   Page 1 of 2   PageID 1500



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS



 HUMANA INC. and AMERICANS FOR
 BENEFICIARY CHOICE,

       Plaintiffs,
                                                    Case No. 24-cv-01004-O
 v.

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,
       Defendants.



               NOTICE OF WITHDRAWAL OF NICOLE E. WITTSTEIN

      Undersigned counsel hereby provides notice withdrawing the appearance of Nicole

E. Wittstein in the above-captioned matter.

      Plaintiffs consent to this withdrawal and will continue to be represented by Michael

B. Kimberly of Winston & Strawn LLP and Richard Salgado and Kate McDonald of McDer-

mott Will & Emery LLP.




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Case 4:24-cv-01004-O       Document 51       Filed 06/04/25       Page 2 of 2   PageID 1501



Dated: June 4, 2025                           Respectfully submitted,


/s/ Nicole E. Wittstein (with permission)     /s/ Richard Salgado
Nicole E. Wittstein (pro hac vice)             Richard Salgado (Texas No. 24060548)
                                                  McDermott Will & Emery LLP
Withdrawing Attorney                              2501 North Harwood Street, Suite 1900
                                                  Dallas, TX 75201-1664
                                                 (214) 210-2797




                               CERTIFICATE OF SERVICE

       I hereby certify that, on June 4, 2025, I electronically filed the foregoing notice with

the Clerk of the Court using the appellate CM/ECF system, which served copies on all ECF-

registered counsel.

Dated: June 3, 2025                         /s/ Richard Salgado




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